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800 Third Avenue

New York, NY 10022
COHEN & GRESSER LLP 2 AOE UBURISRER

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November 17, 2023
VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse

500 Pearl Street

New York, New York 10607

Re: United States v. Samuel Bankman-Fried, 86 22 Cr. 673 (LAK)
Dear Judge Kaplan:

On behalf of our client, Samuel Bankman-Fried, we respectfully submit this letter to
request an extension until Friday, December 1, 2023, to file our post-trial motions, as well as a
corresponding adjustment to the other filing deadlines. Under the current schedule, defense
motions are due Monday, November 20, 2023; the Government’s response is due Monday,
December 11, 2023; and the defense reply is due Monday, December 18, 2023. Under the
proposed schedule, defense motions would be due Friday, December 1, 2023: the Government’s
response would be due Friday, December 22, 2023; and the defense reply would be due Monday,
January 8, 2024 (to account for the intervening holiday week). The defense has not previously
asked for an extension. The Government consents to this request and the new briefing schedule.

Respectfully submitted,

‘S/ Christian R. Everdell
Mark S. Cohen
Christian R. Everdell
COHEN & GRESSER LLP
800 Third Avenue, 21st Floor
New York, New York 10022

LEWIS A. KAPLAN, USD (212) 957-7600
mcohen@cohengresser.com
} f / ¢ rv ceverdell@cohengresser.com

cc: All counsel of record (via ECF)

